Case 1:05-cv-02504-EWN-CBS Document 80 Filed 05/10/07 USDC Colorado Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                             Magistrate Judge Craig B. Shaffer

  Civil Action No.: 05-cv-02504-PSF-CBS                 FTR - Reporter Deck - Courtroom A402
  Date: May 10, 2007                                    Courtroom Deputy: Ben Van Dyke

  DAVE A. BOONE,                                        Thomas H. Stocker

         Plaintiff,

         v.

  MVM, INC., a California corporation doing             Jason Branciforte
  business in Colorado,

         Defendant.


                         COURTROOM MINUTES/MINUTE ORDER

  HEARING: MOTIONS HEARING
  Court in Session:     10:46 a.m.
  Court calls case. Appearances of counsel.

  ORDERED: Plaintiff’s Motion to Compel [filed March 2, 2007; doc. 66] is denied for the
           reasons stated on the record.

  ORDERED: Plaintiff’s Motion to Reconsider Prior Denial of Leave to Take Deposition of
           Michael Pietragallo [filed March 12, 2007; doc. 68] is granted for the reasons
           stated on the record. Plaintiff’s counsel may take the deposition of Michael
           Pietragallo within the next thirty (30) days, and the deposition shall go
           forward in Virginia.

  ORDERED: Within forty-five (45) days, defendant shall make an adequate factual
           showing, through a proper government employee or agency, that the
           documents withheld in this case were properly withheld as State Secrets.

  HEARING CONCLUDED.

  Court in Recess:    11:57 a.m.
  Total In-Court Time: 01:11
